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From                                                                          Brown              Vallie     ECN
Sent                                                                          Monday                 July   24 2017 9 59             AM
To                                                                            Torres Joaquin                  ECN
Subject                                                                       FW        Tour of Fillmore                  Facility   Tomorrow               Monday




Do you know what                                this   is   about


From               Denise Bradley                     mailtodenise inspiredluxe comI
Sent Monday                             July    24     2017 732             AM
To              Andrea           Baker        andrea                andreabakerconsulting com

Cc Dr               Ernest             Bates                                                      Brown       Vallie       ECN
Subject                 Re            Tour of Fillmore              Facility          Tomorrow              Monday


Andrea                      thanks            very     much          for    advising              and connecting                us   with         V   allie




Vallie                 can        you coordinate                    directly           with       Dr      Bates to schedule                   a   time today for him to do a walk-thru                      please


Thank               you


K ind regards

Denise



0       n       M on        Jul        24 2017             at   645 A         M        A    ndrea       B   aker    andrea                                                                  wrote

    H       i   Denise
 G          reat       to    hear from               you
 We              are        no        longer     managing               the       F   illmore H eritage C enter nor do                                 we     have keys         to the   facility




    I   am         copying               V    allie    B    rown with                 the    M   ayor's       0   ffice    of   E   conomic                 Workforce           Development          She   will   be able

                coordinate               your and D r B ates
 to                                                                                   site   visit


            allie      can            also    be reached             at    415-215-5146
            ndrea



    Sent from                     my         iPhone




 0          n    Jul    23 2017                 at    11 2      5   P   M     D   enise          B   radley       denise             inspiredluxe com                  wrote


                        Andrea and Y aris



                        Hope             this    note finds you                   both       doing well



                        I   s    it
                                       possible to do a walk-thru                                sometime tomorrow                        M       onclay      w ith   D r   E   rnest B   ates      whom   I've


                        copied               on this email              so you          can          advise       him directly



                        Thanks                very     much          in    advance


                        K ind regards

                                                                                                                                1




                                                                                                                                                                                          CCSF-SHIFERAW-015596
                   Case 3:18-cv-06830-RS Document 131-27 Filed 04/28/21 Page 2 of 3
          Denise




          Denise Bradley-Tyson

          Founder       CEO
          1   415    351-9098




Denise Bradley-Tyson

Founder       CEO
I   L415 3    51-9098
              mmmfmxw




                                                                            CCSF-SHIFERAW-015597
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        Subjec t: Re: Tour o t Fillmor e Facility Tomor row, Monda y
        Date:     Monday, July 24, 2017 at 7:32:13 AM Pacific Dayligh t Time
        From:     Denise Bradle y
       To:        Andrea Ba ker
        CC:       Dr. Ernest Bates, Vallie Brown

       Andrea, thanks very much for advisin g and connecting us with
                                                                     Vallie.

       Vallie, can you coordinate directly with Dr. Bates to schedu le a time
                                                                              today f or him t o do a walk·th ru please?

       Thank you .

       Kind regards,
       Denise

      On M on, Jul 24, 2017 at 6:45 AM, Andrea Baker <andrea@and reabake
                                                                         rconsul ting.com > w rote:
       Hi Denise,
       Great t o hear from you!
       We are no longer managing the Fillmore Heritage Center; nor do
                                                                      we have keys to the facility.

        I am copying Vallie Brown with the Mayer' s Office of Economic
                                                                       & Workforce Development. She will be able to
        coordinate your and Or. Bates' site visit .
        Vallie can also be reached at 41 5-2 15·5146.
        Andrea

        Sent from my IPhone



        On Jul 23, 2017, at 11:25 PM, Denise Bradley <denis e@lfilr,iiredlux
                                                                            e.com> wrote:


                Andrea and Yaris,

                Hope this note finds you both doing well.

                Is i t possible to do a walk·th ru someti me tomorrow, Monday, w ith Or.
                                                                                         Ernest Bates, whom I've copied
                on this email so you can advise him directly?

                Thanks very much in advance.

                Kind regards,
                Denise



              Denise Bradley-Tyson
              Found er & CEO
              ±l...(f il) 351-9 098




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